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                            United States District Court for the Southern District of Iowa

Presiding: Honorable Stephen H. Locher, U.S. District Judge
Case No. 4:24-cv-00390-SHL-HCA                 : Clerk’s Court Minutes – TRO Hearing
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Plaintiff(s)                       :                            Defendant(s)
                                   :
ORCUN SELCUK, ALAN DAVID           :                            PAUL D. PATE, BENJAMIN D. STEINES,
GWILLIAM, TINGTING ZHEN, MICHAEL   :                            JAMIE FITZGERALD, MELVYN HOUSER,
BROKLOFF, and THE LEAGUE OF UNITED :                            ERIN SHANE, and KERRI TOMPKINS
LATIN AMERICAN CITIZENS OF IOWA    :
                                   :
_______________________________________________________________________________________________________________________________________

Plaintiff(s) Counsel: Jesse Linebaugh; Joseph R. Quinn; Thomas D. Story; Ritta Bettis Austen


Defendant(s) Counsel: Eric H. Wessan; Breanne Alyssa Stoltze; Michael C. Richards; Donald D. Stanley, Jr; Meghan L. Gavin;
                           Susan D. Nehring; Rachel Zimmerman Smith; Katie Grall, Lindsey Purdy-Browning; Angela Stuedeman
Court Reporter: Tonya Gerke                                 :   Interpreter: N/A
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Motion(s) for Ruling:                                                            Ruling           /     Ruling Reserved
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Plaintiff's Motion for TRO & Preliminary Injunction (ECF 9)                                       :             X
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Proceedings:
Court is convened for a hearing on Plaintiff's Motion for TRO & Preliminary Injunction. Plaintiffs argue in
support of the Motion for TRO & Preliminary Injunction (ECF 9). Defendants argue in resistance. Plaintiffs
argue in rebuttal. Any supplemental briefing shall be filed by noon on November 2, 2024. The Court considers
the matter fully submitted and will issue a ruling as promptly as possible. Court adjourns.




Time Start: 2:05 p.m.
Time End: 3:30 p.m.
Date: November 1, 2024                                                                    /s/ M. Mast
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                                                                                          Deputy Clerk
